Case 1:18-cr-00204-NGG-VMS Document 1065 Filed 07/12/21 Page 1 of 2 PageID #: 19908

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
   MKM:TH                                             271 Cadman Plaza East
   F. #2017R01840                                     Brooklyn, New York 11201



                                                      July 12, 2021

   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Keith Raniere
                          Criminal Docket No. 18-204 (S-2) (NGG)

   Dear Judge Garaufis:

                   The government respectfully submits this letter to notify the Court regarding a
   potential conflict involving counsel for defendant Keith Raniere. On June 30, 2021 and July
   2, 2021, Jeffrey H. Lichtman, Esq. and Marc A. Fernich, Esq. filed notices of appearance on
   behalf of the defendant Keith Raniere. The government has been advised that the legal fees
   for Mr. Lichtman and Mr. Fernich, who represent Raniere in connection with proceedings
   related to restitution before the Court as well as his pending appeal, are being paid by the
   defendant Clare Bronfman.

                   Raniere was previously advised of, and waived, a nearly identical potential
   conflict relating to Bronfman’s payment of Raniere’s legal fees, see ECF Docket Entry No.
   443 (Curcio hearing relating to payment of legal fees by the CDF Irrevocable Trust). The
   government respectfully requests, in an abundance of caution, that the Court obtain the
Case 1:18-cr-00204-NGG-VMS Document 1065 Filed 07/12/21 Page 2 of 2 PageID #: 19909




   defendant Keith Raniere’s knowing and voluntary waiver of this potential conflict
   immediately prior to the sentencing hearing regarding restitution scheduled to proceed on
   July 20, 2021.



                                                     Respectfully submitted,

                                                     JACQUELYN M. KASULIS
                                                     Acting United States Attorney

                                             By:      /s/
                                                     Tanya Hajjar
                                                     Assistant U.S. Attorney
                                                     (718) 254-7000


   cc:           Counsel of Record (by ECF and email)
                 United States Probation Officer Jennifer G. Fisher (by email)




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